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 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed December 9, 2019
______________________________________________________________________



BTXN 104b/105b (rev. 09/11)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                     §
Highland Capital Management, L.P.                          §    Case No.: 19−34054−sgj11
                                                           §    Chapter No.: 11
                                        Debtor(s)          §


                              ORDER FOR ADMISSION PRO HAC VICE
    The Court, having considered the Application for Admission Pro Hac Vice of John A. Morris, to represent
Highland Capital Management, related to document #191, ORDERS this application be:

    Granted − The Clerk of the District Court for the Northern District of Texas shall deposit the application fee to
the account of the Non−Appropriated Fund.

    Denied − The Clerk of the District Court for the Northern District of Texas shall return the admission fee to the
applicant.

                                               # # # End of Order # # #
